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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division

    RODNEY K. ADAMS, et al.,
        Appellants,
              v.                                                  Civil No. 3:22cv237 (DJN)
    LYNN L. TAVENNER, as Chapter 7
    Trustee,
           Appellee.

                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division


    In re:                                                                 Case No. 19-34574-KRH
              LeClairRyan, PLLC, 1

              Debtor                                                       Chapter 7



                    SUPPLEMENT TO TRUSTEE’S PLEADINGS PURSUANT TO
                      MEMORANDUM ORDER ENTERED AUGUST 16, 2023


             Comes now Lynn L. Tavenner, Trustee, and not individually but solely in her capacity as

    the Chapter 7 trustee (in such capacity, the “Chapter 7 Trustee” and/or the “Trustee”) of the

    bankruptcy estate (the “Estate”) of LeClairRyan PLLC (“LeClairRyan” and/or the “Debtor”),

    in the above-referenced Chapter 7 case (the “Case”), by counsel, and supplements her Trustee’s



    1
      The principal address of the Debtor as of the petition date was 4405 Cox Road, Glen Allen, Virginia 23060, and the
    last four digits of the Debtor’s federal tax identification number are 2451.


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Pleadings Pursuant to Order Entered August 16, 2023 [Docket No. 33] (the “Trustee Original

Pleadings”) in which she reported to this Court on August 24, 2023, in accordance with and as

directed by this Court’s Memorandum Order [Docket No. 30] (the “August Memorandum

Order”).

         The Trustee Original Pleadings addressed the inquiries of the Court and also informed

that, given her unique position and attendant responsibilities as the Estate fiduciary, the Trustee

was continuing to analyze issues addressed in the Court’s recent Memorandum Opinion entered

on August 22, 2023 [Docket No. 31] (the “August Memorandum Opinion”) 2. Particularly, the

Trustee desired to ensure that she was equipped with sufficient information to make an informed

decision in the exercise of her business judgement as to the best interests of the Estate with

regard to certain matters the Court directed her to address in the August Memorandum Order.

She was forthright in identifying certain reasons that she continued to weigh the interests of the

Estate in potentially taking actions including but not limited to an appeal and/or motion to

reconsider with respect to the August Memorandum Opinion and August Memorandum Order.

         As part of the Trustee Original Pleadings, the Trustee shared certain immediate health

issues. But she also informed of her hope for sufficient improvement to meet with counsel in

person over the weekend such that she would be in a position on or before August 28, 2023 to

make an informed decision in the exercise of her business judgement as to what steps are in the

best interests of the Estate with respect to the status of the settlement with Mr. LeClair.



2
  The Trustee Original Pleadings contained an error in which she mistakenly identified the same in the definition but
the references throughout were clear. The Trustee and counsel apologize for this error as well as other typographical
errors contained in the Trustee Original Pleadings. The draft version of the same as of Tuesday, August 22, 2023 is
vastly different than the document ultimately filed on August 24, 2023. After entry of this Court’s August
Memorandum Opinion on August 22, 2023, the Trustee’s health issues made it difficult to determine the path that
was in the best interest of the Estate and communicate the same to her counsel in a time period that provided counsel
more than the afternoon and evening on the 24th to revise, finalize, and file the Trustee Original Pleadings on or
before the Court’s deadline.

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       While unfortunately the Trustee’s health issues prevented an in-person meeting, the

Trustee has now had an opportunity to otherwise meet with counsel and further vet a plethora of

information. And while not necessarily in the best interest of the Trustee individually and/or her

counsel, but being cognizant of her unique position and its attendant duties even in difficult

situations, the Trustee submits in the exercise of her business judgment that it is in the best

interest of the Estate to move forward on the Motion to Approve Compromise under FRBP 9019

[Bankr. ECF No. 1900] (the “9019 Motion”) with revised settlement agreement terms that are

consistent with this Court’s rulings in its August Memorandum Order. Upon review of the Status

Report [Docket No. 32], it appears that Mr. LeClair is prepared to do the same.

       The Trustee believes that through the Trustee Original Pleadings and this

supplement she has completely answered all inquiries posed in the August

Memorandum Order of the Court. And as previously indicated, the Trustee and the

undersigned counsel intend to be present at the scheduled August 29, 2023 initial settlement

approval hearing and are happy to address any further inquiry of the Court.




 Dated: August 28, 2023                 Respectfully submitted,
 Richmond, Virginia
                                        LYNN L. TAVENNER, CHAPTER 7 TRUSTEE

                                           By: /s/ Paula S. Beran
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